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                     EXHIBIT 2
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                                      2019 WL 12765586 (Ariz.Super.) (Trial Pleading)
                                               Superior Court of Arizona.
                                                   Maricopa County

                                        Jacob GITMAN, an individual, Plaintiff,
                                                            v.
         Patrick SIMPSON, editor and writer for Sternfacts; Morningside Mortgage, an inactive Florida corporation;
          A Medium Corporation, a California foreign corporation; Grant S. Stern, President of Sternfacts; Richard
              E. Sragowicz, Vice President of Sternfacts; thesternfacts.com, in rem; and John Doe, Defendants.

                                                    No. CV2019-009187.
                                                     October 23, 2019.

(Defamation and Declaratory Judgment)
[TIER III]


                                                         Complaint


Logan V. Elia, SBN. 025009, Olen V. Lenets, SBN. 034279, Rose Law Group pc, 7144 East Stetson Drive, Suite 300, Scottsdale,
Arizona 85251, Tel: (480) 505-3936, Fax: (480) 505-3925, docket@roselawgroup.com, lelia@roselawgroup.com, for plaintiff.

Plaintiff Jacob Gitman (“Gitman”), by and through undersigned counsel, for his Complaint against Defendants, alleges as
follows:


                                     THE PARTIES, JURISDICTION AND VENUE

1. Gitman is the owner or affiliate of various business ventures. Specifically, Gitman owns property and operates business in
Arizona. Gitman is working to open an aluminum plant in Arizona.

2. Defendant Patrick Simpson (“Simpson”) is a person whose conduct as alleged herein was directed towards Arizona with
knowledge that his conduct would cause harm in Arizona. Upon information and belief Defendant Simpson currently resides
in New Hampshire.

3. Simpson is a writer and editor for The Stern Facts (“Stern Facts”) and publishes on thesternfacts.com.

4. Defendant thesternfacts.com is a website registered by GoDaddy.com, LLC and resides in in Arizona.

5. Defendant Morningside Mortgage Corporation (“Morningside”) is an inactive Florida corporation.

6. Morningside owns thesternfacts.com, the internet domain for Stern Facts.

7. Defendant A Medium Corporation (“Medium”) is a California foreign corporation.

8. Medium hosts and republishes articles from Stern Facts and Simpson.

9. Defendant Grant S. Stern (“Stern”) is the President of Stern Facts. Upon information and belief Defendant Stern resides in
Florida.



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10. Defendant Richard E. Sragowicz (“Sragowicz”) is the Vice President of Stern Facts. Upon information and belief Defendant
Sragowicz resides in Florida.

11. Defendants Simpson, Morningside, Medium, thesternfacts.com, Stern and Sragowicz (collectively, “Defendants”)
intentionally directed actions towards Arizona including, but not limited to, authorizing and posting comments on a website
hosted in Arizona.

12. The identity and residence of defendant John Doe is unknown. John Doe may be a person or persons. John Doe may be
an entity or entities. Upon information and belief, John Doe provided monetary inducement, compensation, or assistance to
facilitate the wrongful acts alleged herein. John Doe may be liable as a joint tortfeasor or for conspiring with or aiding and
abetting the named tortfeasors.

13. Jurisdiction and venue are appropriate in Maricopa County, Arizona pursuant to Ariz. Const. Art. 6, § 14, and A.R.S. §
12-123, 12-401(1), (10), and (18) and .


                                                 GENERAL ALLEGATIONS

14. Gitman is affiliated with Monarch Air Group (“Monarch”).

15.Gitman's family name is tied to numerous business ventures in Arizona as well as across the United States.

16. Good standing and professional respect for the Gitman name, including Gitman's sons, is critical to continued economic
success in various industries across the United States.

17. Stern, Sragowicz, and Simpson are responsible for either writing, approving, and/or posting content on behalf of Stern Facts.

18. Medium reposts or links to articles posted by Stern Facts and/or Simpson on its own domain at medium.com.

19. Stern Facts and Medium's websites are viewable online by any members of the general public with internet access.

20. Simpson wrote the article titled Under Trump, Witness Protection has been infiltrated by the Russian Mafia (the “Article”).

21. Gitman and Monarch are named individually in the Article.

22. Stern Facts posted the Article on March 14, 2019.

23.Medium posted the Article with the tags ‘airlines', ‘Donald Trump’, ‘mafia’, ‘polities', ‘Russia’.

24. The purpose of posting articles with tags is to boost visibility and readership for internet users searching for those specific
terms.

25. Stern Facts and Medium intended to boost visibility and viewership for Simpson's Article.

26. Simpson controls the Twitter handle of @patrickLSimpson.

27. Simpson is responsible for the tweets posted by @patrickLSimpson.

28. Simpson linked the Article via a Twitter post.


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29. Upon information and belief, the Defendants also posted the Article on the website democraticunderground.com.

30. Major internet search engines such as Google, Yahoo, and Bing will de-index certain webpages, including those webpages
containing the Article, only upon their receipt of a signed court order or judgment specifically finding that the webpages contain
false and defamatory statements.

31. The Defendants authored, edited, and/or posted multiple false and defamatory claims about Gitman in the Article on various
sites across the internet.

32. The defamatory posts containing the false and defamatory claims continue to exist on the internet and are searchable on
Google, Yahoo, Bing, and other search engines.

33. Gitman's reputation and financial interests have both been adversely affected by the Article.


                                               COUNT ONE: DEFAMATION

34. Gitman incorporates the prior allegations as though said allegations were fully set forth herein.

35. In or about March of 2019 Simpson wrote the Article.

36. Defendants knowingly and intentionally published false, defamatory and damaging statements contained in the Article on
the internet.

37. The unique urls, in part, for where the Article has been reposted can be found are as follows:

• https://thesternfacts.com/under-trump-witness-protection-has-been-infiltrated-by-the-russian-mafia-f6e4825f10a5

• https://www.reddit.com/r/The_Mueller/comments/blqfk6/under_trump_witness_protection_has_been/

• https://www.democraticunderground.com/100211924130

• https://www.democraticunderground.com/100211926173

• https://twitter.eom/patrickLSimpson/status/1106449565471961088

• https://threadreaderapp.eom/thread/1106271952887525377.html

• https://medium.com/p/f6e4825f10a5/responses/show

• https://perspectives.com/they-have-found-no-collusion-between-trump-russia-t29962-s220.html

38. The Article is of and concerning Gitman.

39. The Article contains false and disparaging statements about Gitman.

40. Specifically the following statements are false:

• “Monarch is a known Russian front”


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• Vadim Trincher and Anatoly Golubchik “were using Monarch to funnel money and drugs on behalf of the Russian Mafia” and
“they were also running Monarch Air, Shuttleliner Cab of Ocala, Suncoast Air Cargo, and Skyway International out of Jacob
Gitman's Kane Concourse Address in Miami”

• “These aforementioned crimes mentioned above would send anyone to jail”

• Assertions that Gitman was involved in the same crimes and schemes as Michael Cohen

• “What I, and many other researchers in the twitter verse have found is a vast network of mobsters based out of Miami. They run
fake debt scams, insurance scams, they're running “IV infusion centers,” they've infiltrated the DOJ and have secret contracts
with the Department of Defense”

41. The Article contains other false and defamatory statements as well.

42. In addition to blatantly false statements, the Article contains misleading statements crafted to portray Gitman in a false light.

43. For example, the Article discusses that certain contracts were awarded “under Trump,” when, in fact, the contracts were
part of a General Services Administration schedule awarded in 2014. Additionally, the Article fails to numerous other contracts
awarded under previous administrations.

44. The Article falsely alleges that unspecified “[s]ources have placed Michael Cohen in the same world as Jacob Gitman on
multiple occasions as well.” Cohen is a disbarred attorney who pleaded guilty to multiple felonies. Cohen is not in the “same
world” as Gitman except insofar as they are both alive on Earth.

45. Defendants published the Article containing false and defamatory statements to numerous third parties across the internet.

46. When Defendants posted the Article on the internet, they knew that the statements in the Article were false and defamatory
and acted with actual malice. In the alternative, when Defendants posted the Article on the internet, they acted with a reckless
disregard for whether the statements in the Article were false and defamatory. In the alternative, when Defendants posted the
Article on the internet, they acted with a negligent disregard for whether the statements in the Article were false and defamatory.

47. Upon information and belief, the Defendants posted the Article in a purposeful attempt to damage Gitman's good name,
reputation, business ventures, and future business prospects.

48. The Article deters third parties from conducting business with Gitman.

49. The Article has impeached Gitman's integrity and reputation.

50. The Article's implication of Gitman as part of the Russian mob has specifically impaired and impeded Gitman's valuable
business opportunities in Arizona.

51. The Article has caused economic damages to Gitman in the form of lost business volume and/or lost business prospects
in an amount to be proved at trial.

52. Gitman will continue to be harmed by the Article so long as it is being disseminated.

WHEREFORE, Gitman prays for judgment as follows:
A. For damages in an amount to be determined at trial;



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B. For interest upon Gitman's damages at the maximum rate allowed by law;

C. For Gitman's taxable costs pursuant to A.R.S. § 12-341;

D. For interest upon Gitman's taxable costs at the maximum legal rate from the date judgment is entered herein until the date
such judgment is paid in full;

E. For a court order or judgment explicitly stating the Defendants' Article is false and defamatory; and

F. For such other and further relief as the Court deems just and proper.




                                       COUNT TWO: DECLARATORY JUDGMENT.

53.Gitman incorporates the prior allegations as though said allegations were fully set forth herein.

54. Gitman desires to have the Article de-indexed from the list of search results provided by major internet search engines such
as Google, Yahoo, and Bing.

55. De-indexing the Article is the only feasible way to stop Defendants ‘Article from continuing to harm Gitman.

56. Google, Yahoo, and Bing will not de-index the Article unless and until they receive a signed court order or judgment
declaring the Article false and defamatory and requesting that it be removed.

57. The rights, status, and legal relations of the parties are affected by the dispute described herein.

58. Pursuant to the Uniform Declaratory Judgments Act, A.R.S. §§ 12-1831 to 12-1846, Gitman is entitled to a declaratory
judgment finding that the Article is false and defamatory.

WHEREFORE; Gitman prays for judgment as follows:
A. For declaratory judgment finding that the Article is false and defamatory;

B. For Gitman's taxable costs pursuant to A.R.S. § 12-341;

C. For interest upon Gitman's taxable costs at the maximum legal rate from the date judgment is entered herein until the date
such judgment is paid in full;

D. For such other and further relief as the Court deems just and proper.



RESPECTFULLY SUBMITTED this 23 rd day of October, 2019.

ROSE LAW GROUP pc

By: <<signature>>

Logan V. Elia



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